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Kent Ries, Attorney at Law
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COUNSEL FOR TRUSTEE




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                        AMARILLO DIVISION

IN RE:                                             §
                                                   §
MICHAEL STEPHEN GALMOR,                            §       CASE NO. 18-20209-RLJ-7
                                                   §
          Debtor.                                  §

          OBJECTION TO CLAIM NUMBER 2 OF OKLAHOMA TAX COMMISSION

TO THE HONORABLE ROBERT L. JONES, BANKRUPTCY JUDGE:

          COMES NOW, Kent Ries, Trustee (“Trustee”) of the referenced chapter 7 bankruptcy

estate, and files this Objection to Claim Number 2 of Oklahoma Tax Commission (“OTC”) and in

support thereof would respectfully show unto the Court as follows:

          1.         Debtor filed for relief under Chapter 11 of the United States Bankruptcy Code on

June 19, 2018 and converted to a Chapter 7 case on January 8, 2019. Kent Ries was subsequently

appointed and qualified to serve as the Trustee over the bankruptcy estate.

          2.         This Court has jurisdiction over the subject matter of this Objection pursuant to the

terms and provisions of 28 U.S.C. §§1334 and 157(b)(2)(B), 11 U.S.C. §§ 502, 506 and 507 as well

as Rule 3007 of the Federal Rules of Bankruptcy Procedure.

          3.         On or about July 18, 2018, OTC filed a Proof of Claim as a priority claim in the

amount of $801,077.33 regarding taxes owed to a government entity under 11 U.S.C. §507(a)(8)




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and a general unsecured claim in the amount of $52,575.19. The claim was subsequently docketed

as Claim Number 2 on the Claims Register maintained by the Bankruptcy Clerk.

       4.      Trustee objects to the allowance of Claim Number 2 of OTC as a priority claim in

the amount of $801,077.33 for the reason that no documentation to the claim explains why the

claim fulfills the requirements of 11 U.S.C. §507. Further, the tax at issue has been disputed by

the Debtor and has not been resolved by any competent legal authority.

       5.      Trustee objects to the allowance of Claim Number 2 of OTC as an unsecured claim

in the amount of $52,575.19 for the reason that the tax at issue has been disputed by the Debtor

and has not been resolved by any competent legal authority. Consequently, the Trustee seeks an

Order of this Court disallowing the unsecured claim of OTC for purposes of a distribution to holders

of allowed claims against the bankruptcy estate.

       WHEREFORE, PREMISES CONSIDERED, the Trustee, Kent Ries, respectfully prays

for an Order of this Court disallowing or reclassifying the priority claim filed by OTC in the amount

of $801,077.33 and disallowing the unsecured claim filed by OTC in the amount of $52,575.19 for

the reasons stated above and for such other relief, at law or in equity, to which the Trustee may

show himself justly entitled.

                                              Respectfully submitted,

                                              Kent Ries, Attorney at Law
                                              2700 S. Western St., Suite 300
                                              Amarillo, Texas 79109
                                              (806) 242-7437
                                              (806) 224-7440 - Fax

                                              By: /s/ Kent Ries
                                                Kent Ries
                                                State Bar No. 16914050
                                              COUNSEL FOR TRUSTEE




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                                         HEARING NOTICE

     NO HEARING WILL BE CONDUCTED ON THIS OBJECTION TO CLAIM
UNLESS A WRITTEN RESPONSE IS FILED WITH THE CLERK OF THE UNITED
STATES BANKRUPTCY COURT AT 205 SOUTHEAST FIFTH AVENUE, ROOM 201D,
AMARILLO, TEXAS 79101, BEFORE CLOSE OF BUSINESS ON OCTOBER 26, 2020,
WHICH IS AT LEAST THIRTY (30) DAYS FROM THE DATE OF SERVICE HEREOF.

     ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK,
AND A COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING PARTY
PRIOR TO THE DATE AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED A
HEARING MAY BE HELD WITH NOTICE ONLY TO THE OBJECTING PARTY.

     IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED,
THE RELIEF REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND THE
COURT MAY ENTER AN ORDER GRANTING RELEIF SOUGHT OR THE NOTICED
ACTION MAY BE TAKEN.

                                  CERTIFICATE OF SERVICE

       I certify that on the 24th day of September, 2020, a true and correct copy of the foregoing

Objection was sent either electronically via ECF or mailed in the United States mail, postage

prepaid, to the parties listed below:

       U.S. Trustee
       1100 Commerce Street, Room 9C60
       Dallas, Texas 75242

       Patrick Alan Swindell
       Swindell Law Firm
       106 SW 7th Ave.
       Amarillo, Texas 79101

       Oklahoma Tax Commission
       Attn: Sean R. McFarland
       Assistant General Counsel
       100 N. Broadway Ave., Suite 1500
       Oklahoma City, Oklahoma 73102


                                            /s/ Kent Ries
                                            Kent Ries, Trustee




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